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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

                                                 )
 League of United Latin American Citizens –      )
 Richmond Region Council 4614, et al.,           )
                                                 )
                Plaintiffs,                      )
                                                 )
        v.                                       ) Civil Action No. 1:18-cv-00423-LO-IDD
                                                 )
 PUBLIC INTEREST LEGAL                           )
 FOUNDATION, an Indiana Corporation,             )
 and J. CHRISTIAN ADAMS,                         )
                                                 )
                Defendants.                      )
                                                 )
                                                 )


    PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION TO
       RE-OPEN THE DEPOSITION OF DEFENDANT J. CHRISTIAN ADAMS

        Plaintiffs submit this memorandum of law in support of their motion pursuant to Federal

 Rule of Civil Procedure 30(a)(2)(A)(ii) to re-open the deposition of Defendant J. Christian

 Adams in light of the recent disclosure of material documents and information that were

 previously withheld by Defendant Adams and closely related third parties.

                                        INTRODUCTION

        Plaintiffs allege that Defendants J. Christian Adams (“Adams”) and the Public Interest

 Legal Foundation (“PILF”) engaged in a concerted effort to defame, intimidate, and threaten

 them and other eligible voters in Virginia for registering to vote and voting. Specifically,

 Plaintiffs allege that, together with Reagan George and the Virginia Voters Alliance (VVA),

 Defendants drafted, published, and publicly promoted two reports (the “Alien Invasion reports”)

 that accused thousands of people—by name and other personally identifying information—of

 being “non-citizens” who registered and/or voted “illegally” in Virginia. The Individual
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 Plaintiffs, however, are citizens who are eligible to vote and thus committed no such crimes.

 Plaintiffs allege violations of the Klu Klux Klan Act, 42 U.S.C. § 1985(3) (conspiracy to prevent

 voting by force, intimidation, or threats) and Section 11(b) of the Voting Rights Act, 52 U.S.C §

 10307 (intimidation, threats, or coercion interfering with right to vote), as well as claims of

 defamation under state law.

        In the past two weeks, Plaintiffs learned that third parties who are closely related to

 Defendants—including VVA and one of Defendant PILF’s own board members—had (and

 have) been withholding hundreds of documents containing information that is material to this

 litigation. It further appears that at least some of these documents should have been produced by

 Defendant Adams. These disclosures came within days of the close of discovery on May 10th—

 indeed, one set of more than 400 documents came on May 10th—and weeks after Plaintiffs

 completed the deposition of Defendant Adams in both his individual capacity and as Defendant

 PILF’s corporate designee pursuant to Rule 30(b)(6). Defendants had absolutely no prior notice

 that these third parties were in possession of these documents or that there would be such a large

 volume of documents that were responsive to discovery requests previously issued in this case.

 These belated disclosures also follow previous foot-dragging by Defendant Adams in making his

 own document production (necessitating an earlier motion to compel) and blatantly

 obstructionist conduct at his deposition. Regardless of fault, however, the fact that the recently

 produced documents contain material information justifies reopening Defendant Adams’s

 deposition.

        Accordingly, Plaintiffs ask the Court to order Defendant Adams to appear for another full

 day of deposition (in both his corporate and personal capacities) and to answer questions without

 further obstruction.

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                                           ARGUMENT

        The documents and information that have come to light since Plaintiffs deposed

 Defendant Adams on April 18 and 22, 2019, easily justify reopening his deposition.

        Federal Rule of Civil Procedure 30(a)(2)(A)(ii) authorizes parties to seek leave of court

 to question a deponent “who has already been deposed in the case.” The Rule mandates that “the

 court must grant leave to the extent consistent with Rule 26(b)(1) and (2).” Fed. R. Civ. P.

 30(a)(2) (emphasis added). In assessing whether a request to re-open a deposition is consistent

 with Rule 26(b), courts consider whether:

        (i) the discovery sought is unreasonably cumulative or duplicative, or can be
        obtained from some other source that is more convenient, less burdensome, or less
        expensive; (ii) the party seeking discovery has had ample opportunity to obtain
        the information by discovery in the action; or (iii) the burden or expense of the
        proposed discovery outweighs its likely benefit, considering the needs of the case,
        the amount in controversy, the parties’ resources, the importance of the issues at
        stake in the action, and the importance of the discovery in resolving the issues.

 Flame Glory Wealth Shipping Pte Ltd. v. Indus. Carriers, Inc., 2014 WL 12547264, at *3 (E.D.

 Va. Apr. 30, 2014). “When considering whether to grant leave to reopen a deposition the burden

 is on the opposing party to demonstrate that Rule 26(b)(2) bars the deposition.” Eshelman v.

 Puma Biotechnology, Inc., 2018 WL 327559, at *4 (E.D.N.C. Jan. 8, 2018) (internal quotation

 marks omitted).

        “Courts have typically reopened a deposition . . . where new information comes to light

 triggering questions that the discovering party would not have thought to ask at the first

 deposition.” Flame Glory Wealth, 2014 WL 12547264, at *3 (quoting Briggs v. Phebus, 2014

 WL 1117888, at *3 (E.D. La. Mar. 19, 2014)); accord, e.g., Ganci v. U.S. Limousine Serv., Ltd.,

 2011 WL 4407461, at *2 (E.D.N.Y. Sept. 21, 2011) (“Courts will typically reopen a deposition

 where there is new information on which a witness should be questioned.”). Thus, courts


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 routinely grant leave to reopen the deposition of a party who has improperly failed to disclose

 relevant documents prior to his or her deposition. See, e.g., Eshelman, 2018 WL 327559, at *4-

 *5 (granting plaintiff leave to reopen depositions where defendant produced discoverable

 documents after initial depositions and finding that “it would be unfair to allow Defendant to

 untimely produce materials and then prevent Plaintiff from reopening depositions in order to

 question based on those materials”); Fresenius Med. Care Holdings, Inc. v. Roxane Labs., Inc.,

 2007 WL 764302, at *2 (S.D. Ohio Mar. 9, 2007) (noting that when “new documents are

 produced, the witness may be re-deposed with respect to these new developments” and ordering

 re-deposition where “plaintiff did everything in its power to obtain” a belatedly produced

 document and defendant “offered no justification for failing to provide the document”); Miller v.

 Fed. Express Corp., 186 F.R.D. 376, 389 (W.D. Tenn. 1999) (“existing case law, as well as

 common sense, supports allowing redeposal where a party fails to disclose relevant information .

 . . which it later reveals only after an intervening deposition has occurred”).

        However, no showing of fault is required. The Court may grant leave to reopen a

 deposition to question a witness about newly obtained documents even if the witness is not

 culpable for the delayed production, so long as the discovering party has been diligent in seeking

 the information and the additional questioning would not be cumulative or unduly

 burdensome. See, e.g., Ganci, 2011 WL 4407461, at *2 (granting leave to re-depose witness

 with the benefit of documents obtained through freedom of information requests after the

 witness’s initial deposition); Vincent v. Mortman, 2006 WL 726680, at *2 (D. Conn. Mar. 17,

 2006) (permitting reopening of defendant’s deposition in light of third party’s belated production

 of relevant documents).




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          Thus, the recent disclosure of material documents and information that were previously

 withheld by Defendant Adams and closely related third parties—documents that Plaintiffs were

 diligent in seeking to discover—is sufficient to re-open Defendant Adams’s deposition.

     I.       LATE PRODUCTIONS BY DEFENDANTS’ CLOSE ALLIES JUSTIFY RE-
              OPENING THE DEPOSITION OF DEFENDANT ADAMS

          Since Defendant Adams’s deposition in April, Plaintiffs have learned about hundreds of

 documents that third parties closely related to Defendants—including a PILF board member and

 the co-author if the Aliens Invasion reports—previously and wrongfully withheld in response to

 subpoenas.

 Documents Recently Produced by the Co-Author Virginia Voters Alliance

          VVA and its president, Reagan George, co-authored both Alien Invasion reports.

 Plaintiffs issued a subpoena for documents to VVA on December 6, 2018, followed by a

 subsequent subpoena for a deposition and documents on February 14, 2019. Exs. C-D.1 After

 missing the initial deadline for production set forth in the first subpoena, VVA produced

 documents on February 8th, followed by subsequent additional productions on March 11th,

 March 29th, and April 2nd. Nadeau Decl. ¶ 5. Mr. George appeared for deposition on behalf of

 VVA on March 15, 2019. Id. There is evidence from the initial document productions that

 Defendant Adams actually assisted and/or coordinated with VVA in its to the subpoena prior to

 the deposition. Exs. E-H. Then on May 3rd—without prior notice and well after any applicable

 deadline—VVA surprised Plaintiffs by producing a privilege log indicating that it was

 withholding 439 documents as supposedly privileged. Nadeau Decl. ¶ 6. After the parties met




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  All exhibits referenced herein are attached to the accompanying declaration of Genevieve
 Nadeau (Nadeau Decl.)
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 and conferred, VVA withdrew its claim of privilege and produced the documents on May 9th—

 the day before discovery closed. Id.

        The May 9th production includes several emails with Defendant Adams or agents of

 Defendant PILF that Plaintiffs would have addressed in deposition with Defendant Adams had

 they been available at the time. For example, one such document that Defendant Adams had

 previously produced in highly redacted form reveals in the unredacted version produced by VVA

 that PILF and VVA were attempting to use the Alien Invasion reports to pressure DOJ officials

 into bringing prosecutions in Virginia. Compare Ex. I with Ex. J. As a second example, a

 document refers to Defendant Adams’s hunt for plaintiffs to bring a lawsuit against the General

 Registrar of Alexandria—and would have been addressed with Defendant Adams at his

 deposition in light of the fact that Defendants have made it a central point of their defense to

 attack the mode by which Plaintiffs came to bring this lawsuit. Ex. K.

        These are just two examples from the 400-plus documents that Plaintiffs are still

 attempting to sift through after seeing them for the first time on May 9th. Because Plaintiffs

 were unfairly denied an opportunity to question Defendant Adams about these documents and

 related topics during his deposition, they should be permitted to do so now.

 Documents Still Being Withheld by PILF Board Member Hans von Spakovsky

        Hans von Spakovsky is a PILF board member who Defendants identified in their initial

 disclosures as having information relevant to the Alien Invasion reports and who actively

 participated in PILF’s work. Nadeau Decl. ¶ 7. Plaintiffs initially issued a subpoena for

 documents to Mr. von Spakovsky on January 31, 2019. Ex. L. Mr. von Spakovsky produced

 documents on March 1st and 22nd, and then finally appeared for deposition on May 9th after

 rescheduling multiple times at the last-minute requests of his counsel. Nadeau Decl. ¶ 9. During

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 that deposition, Plaintiffs learned for the first time that Mr. von Spakovsky withheld all

 communications with Defendant Adams and certain others at PILF in response to his subpoena,

 including communications concerning the Alien Invasion reports.2 Ex. M (von Spakovsky Depo.

 Tr.) at 35:20-38:25. Plaintiffs have yet to receive a privilege log from Mr. von Spakovsky but

 expect an additional document production from him because there is no privilege that

 conceivably could protect all of these documents from discovery.3

           In this respect, too, Plaintiffs were unfairly denied an opportunity to question Defendant

 Adams about these documents and related topics during his deposition, and they should be

 permitted to do so now (or as soon as documents are produced).

     II.      A RECENT DOCUMENT PRODUCTION BY A PILF VOLUNTEER CALLS
              INTO QUESTION DEFENDANT ADAMS’S OWN PRODUCTION

           Steven Albertson is a Virginia resident who volunteered to assist Defendants Adams and

 PILF gather registration and voting information from a handful of county registrars prior to the

 publication of the Alien Invasion I report. See Ex. O (Albertson Depo. Tr.) at 18:13-21:14; 26:4-

 26:14. He then also helped to publicize the reports. Id. at 21:15-22:3. Defendants issued an

 initial subpoena to Mr. Albertson for documents and deposition testimony on March 29, 2019.

 Ex. N. Mr. Albertson ultimately produced 464 documents to Plaintiffs just after 4:30 p.m. on

 Friday, May 10th—quite literally the last hour of discovery—and appeared for deposition on

 Tuesday, May 14th. Nadeau Decl. ¶ 11.




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  Plaintiffs also learned that Defendant PILF never issued any sort of document preservation
 notice to Mr. von Spakovsky and that he apparently allowed at least some portion of relevant
 documents to be destroyed. Ex. M (von Spakovsky Depo. Tr.) at 39:1-41:1.
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  These documents are also responsive to Plaintiffs’ request for production to Defendants Adams
 and PILF. Exs. A-B.
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        The documents that Mr. Albertson produced on May 10th include a number of

 communications with Defendant Adams that Defendant Adams had not previously produced.

 For example, in an email thread in October 2016, Defendant Adams and others discussed tactics

 for deterring voter fraud, including what tactics may or may not violate federal voter intimidation

 laws (including one of the laws at issue in this litigation). Exs. P-Q. In another email thread

 earlier that same month, Defendant Adams and others discussed his participation in an event

 about the “cover up” of “Virginia Noncitizen Voters” (a term Defendant has suggested in other

 documents should not be used). Ex. R. However, because Defendant Adams failed to preserve

 and/or produce the documents, Plaintiffs were not afforded an opportunity to question him about

 them during his deposition in April.

        Moreover, Mr. Albertson also gave deposition testimony about documents he had

 produced that contradicted some of Defendant Adams’s earlier deposition testimony. For

 example, Mr. Albertson produced a document that discussed the possibility that the individuals

 named in Alien Invasion I may be “accidentals (i.e., those who are citizens but who had trouble

 with the forms),” and further noted that “[i]t’s looking like that’s 10-15% of what we have.” Ex.

 S. Then, Mr. Albertson indicated in his deposition testimony that he believed Defendant Adams

 was the source of the information, Ex. O (Albertson Depo. Tr.) at 124:13-127:18, which

 contradicts Defendant Adams’s testimony that he believed certain documents to be “inherently

 reliable,” Ex. U (Adams 30(b)(6) Depo. Tr.) at 77:20-21, 145:10; Ex. V (Adams Indiv. Depo.

 Tr.) at 128:16.

        Plaintiffs should be permitted to question Defendant Adams about all of these documents

 and related topics as well.




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     III.      THESE LATE DISCLOSURES ONLY COMPOUND PREVIOUS ATTEMPTS
               BY DEFENDANT ADAMS TO OBSTRUCT DISCOVERY

            A further deposition is all the more warranted because of the strong circumstantial

 evidence that Defendant Adams has defaulted on his discovery obligations. Significant portions

 of the late-produced documents are email chains that include Defendant Adams. Although

 Defendant Adams has previously professed a habit of deleting emails, see Dkt. No. 103, it strains

 belief that he just happened delete hundreds of emails directly relevant to this litigation,

 especially in light of his pattern of obstructive conduct toward discovery during the litigation.

            Specifically, Plaintiffs initially propounded requests for production pursuant to Rule 34

 on December 10, 2018. Ex. A-B. After repeated efforts by Plaintiffs, Defendant Adams finally

 produced a total of only 62 documents on February 12th, forcing Plaintiffs to file a motion to

 compel on February 15th. See Dkt Nos. 98-100. In response to the motion, Defendant Adams

 emphasized his understanding of his ethical obligations with respect to discovery and claimed

 that he “played an active role in ensuring that PILF and [he] produced responsive documents.”

 Dkt. No. 103 (Adams Decl.), ¶ 3. He suggested that he either deleted, produced, or logged all

 responsive documents, including communications with Mr. Albertson. Id. ¶ 12. However, he

 also made clear that he performed his own document search without the assistance of counsel.

 Id. ¶ 4.

            The Court granted Plaintiffs’ motion and ordered Defendant Adams to produce

 responsive documents no later than March 8th. Dkt. No. 107. Defendant Adams complied with

 that Order—or so Plaintiffs thought—by producing 561 additional documents (Defendants later

 collectively produced many more documents). Nadeau Decl. ¶ 3. Of course, that fact in itself

 indicates that Defendant Adams wrongly withheld more than 500 documents in his initial



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 production. And as set forth above, it appears that Defendant Adams’s production is still

 woefully incomplete.

        The prior depositions of Defendant Adams on April 18th and 22nd continued the pattern.

 Defendant Adams went out of his way at both depositions to avoid answering even the most

 straightforward questions, including, among other things, by challenging whether questions were

 within the scope of his deposition notice, criticizing Plaintiffs’ counsel’s questions, falsely

 insisting that he had already answered questions and that counsel should read “the transcript,”

 and insisting that he could not answer questions without being shown “a document.” See

 generally Exs. U-V. For example, during the first day of his deposition, Defendant Adams

 essentially refused to say why he joined PILF on the ground that he did not remember, asserting,

 “This is outside the scope of the 30(b)(6) . . . and I didn’t prepare for it. So I don’t remember.”

 Ex. U (Adams 30(B)(6) Depo. Tr.) at 21:7-19. As another example, Defendant Adams refused to

 answer a simple question as to whether anyone at PILF contacted Plaintiff Freeman to clarify her

 citizenship status. Id. at 145:22-149:20. Defendant also refused to give straight answers to

 questions ranging from his communications with the Department of Justice, to whether or not

 PILF has a Facebook page. Ex. V (Adams Indiv. Depo. Tr.) at 10:2-14:20, 24:17-25:11. With

 respect to the latter, Defendant Adams absurdly claimed that although he is the president of

 PILF, “it’s not my organization” and “I don’t own it.” Id. at 24:17-25:11. These are just a few

 examples of his conduct throughout his deposition.

        In addition, there are discrepancies between Defendant Adams’s deposition testimony

 and subsequently obtained evidence. For example, during his deposition Defendant Adams

 denied that PILF had raised substantial funds based on its claims of voting by noncitizens in

 Virginia and/or this lawsuit, testifying that his “understanding of it is it’s less than a hundred

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 dollars.” Id. at 152:23-153:6. But documents received through subpoenas to third-party

 fundraising organizations used by PILF and identified by Defendant Adams in his deposition

 reveal that PILF raised tens of thousands of dollars off of direct-mail solicitations that expressly

 reference PILF’s claims about noncitizen voting in Virginia and the instant lawsuit.4 Nadeau

 Decl. ¶ 13. In light of the vast disparity between Defendant Adams’s deposition testimony and

 the subsequently discovered documentary evidence, Plaintiffs should be entitled to pursue further

 lines of questioning on this issue as well.5

        Accordingly, while proof of misconduct is not required to justify re-opening a deposition,

 here the prior misconduct is clear and further supports Plaintiffs’ requests because that

 misconduct directly interfered with Plaintiffs’ efforts to take a full and fair deposition of

 Defendant Adams on a complete record. Furthermore, in addition to an order allowing Plaintiffs



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   The issue is further compounded by PILF’s unwillingness to provide further information in
 written discovery. Specifically, after Defendant Adams’s deposition, Plaintiffs followed up on
 previous requests for documentary evidence from PILF regarding its fundraising efforts, only to
 be told in response that PILF does not have any such information. Nadeau Decl. ¶ 13. When
 Plaintiffs sought clarification attempting to reconcile documentary evidence with PILF’s
 assertion that it does not have any information concerning funds raised in reference to the Alien
 Invasion reports or this lawsuit, Defendants simply insisted that no such data are in its
 possession, ultimately furnishing a bare-bones declaration to that effect from PILF employee
 Shawna Powell. Id. But questions remain in light of the production by PILF’s fundraisers,
 ForthRight Strategies and A.C. Fitzgerald, which demonstrate that PILF is both active and
 organized in its fundraising efforts.
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   Similarly, Mr. Albertson testified that Defendant Adams’s deposition testimony (which Mr.
 Albertson was shown and read) materially misrepresented the nature of their relationship and the
 work that Mr. Albertson performed for Defendants in connection with the Alien Invasion reports.
 Ex. O (Albertson Depo. Tr.) at 100:10-110:6. Specifically, Mr. Albertson testified that
 Defendant Adams’s testimony that Mr. Albertson helped PILF as a representative of Mr.
 Albertson’s law firm (as opposed to in his personal capacity), that other attorneys at Mr.
 Albertson’s law firm were involved, and that Mr. Albertson participated in the collection of
 information from Prince William County, were false. Id.; see also Ex. U (Adams 30(b)(6) Depo.
 Tr.) at 78:14-91:25. Indeed, Mr. Albertson commented, “Wow. Wow,” upon reading Defendant
 Adams’s testimony, see Ex. O (Albertson Depo. Tr.) at 103:4, and noted that Adams’s testimony
 was “a lie,” id. at 106:24 (emphasis added).
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 to re-open the deposition, the Court should further order Defendant Adams to answer questions

 without engaging in further obstructionist tactics.

                                          CONCLUSION

        For the foregoing reasons, Plaintiffs ask the Court to order Defendant Adams to appear

 for another full day of deposition (both in his corporate and personal capacities) and to answer

 questions without obstruction. Plaintiffs further request that the Court grant any additional relief

 it deems appropriate.



 Dated: May 17, 2019               Respectfully submitted,



                                      /s/ Christopher S. Herlihy
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                                   CERTIFICATE OF SERVICE

        I, Christopher S. Herlihy, hereby certify that on May 17, 2019, I electronically filed the

 foregoing Plaintiffs’ Memorandum Of Law In Support of Their Motion to Re-Open the

 Deposition of Defendant J. Christian Adams using the CM/ECF system, which shall send

 notification of such filing (NEF) to the following counsel of record:

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